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                                                                                    2017 Nov-22 PM 02:13
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF ALABAMA NORTHEASTERN
                          DIVISION

WILLIAM GRICE                             )
                                          )
     Plaintiff,                           )
                                          )
v.                                        )
                                          ) Civil Action No.: _________________
UBER TECHNOLOGIES, INC.,                  )            CLASS ACTION
                                          )
     Defendant.                           )
                                          )
                                          )
                                          )

                                      COMPLAINT

        COMES NOW, William Grice, Plaintiff in the above-styled action, files his

Complaint both individually and on behalf of a class of similarly-situated

individuals against the Defendant Uber Technologies, Inc. (hereinafter, “Uber”),

and, in support thereof, show as follows:

                                      INTRODUCTION

        1.        Plaintiff files this Complaint as a national class action on behalf of

over 57 million consumers across the country harmed by Uber’s failure to secure

and safeguard consumers’ Personally Identifiable Information (“PII”) which Uber

collected from various sources in connection with the operation of its business as a

ridesharing mobile application, and for failing to provide timely, accurate and


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adequate notice to Consumer Plaintiff and other Class members that their

information had been stolen and precisely what types of information were stolen.

      2.       Uber has acknowledged that a cybersecurity incident (“Data Breach”)

occurred, potentially impacting approximately 57 million U.S. consumers. It has

acknowledged that unauthorized persons stole data about the company’s riders and

drivers from a third-party server. Uber claims that based on its investigation, the

unauthorized access occurred in October of 2016. The information accessed

primarily includes names, phone numbers, and email addresses of riders, as well as

names and driver’s license numbers of about 600,000 drivers in the United States.

                                      PARTIES

      3.       William Grice is above the age of nineteen (19) and is a resident of

Huntsville, Alabama.

      4.       Uber is a multi-billion-dollar California corporation that provides

ridesharing services to millions of consumers across the globe. It enables users to

arrange and schedule transportation and/or logistics services with third-party

providers.

                             JURISDICTION AND VENUE

      5.       This Court has jurisdiction over this action pursuant to the Class

Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because at least one Class

member is of diverse citizenship from one defendant, there are more than 100

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Class members, and the aggregate amount in controversy exceeds $5 million,

exclusive of interest and costs.

      6.       This Court has personal jurisdiction over Defendant because it

conducts business in Alabama and has sufficient minimum contacts with Alabama.

      7.       Venue is proper in this District under 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred and/or

emanated from this District, and because Defendant has caused harm to Class

members residing in this District.

                                   FACTUAL ALLEGATIONS

      8.       Throughout the past year, Uber collected and stored personal

information from Plaintiff, including his name, phone number and email address.

      9.       Uber owed a legal duty to consumers like Plaintiff to use reasonable

care to protect his personal information from unauthorized access by third parties.

Uber knew that its failure to protect Plaintiff’s personal information from

unauthorized access would cause serious risks of harm and identify theft for years

to come.

      10.      On October 21, 2017, Uber announced for the first time that in October

of 2016, its database storing Plaintiff’s personal information had been hacked by

unauthorized third parties, subjecting Plaintiff to credit harm and identify theft.

      11.      Uber also confirmed that it had paid the unauthorized persons

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$100,000.00 to delete the data and keep the Data Breach quiet.

      12.    Uber executives also made it appear as if the payout had been part of a

“bug bounty” – a common practice among technology companies in which they

pay hackers to attack their software to test for weaknesses.

      13.    In an attempt to increase profits, Uber negligently failed to maintain

adequate technological safeguards to protect Plaintiff’s information from

unauthorized access by hackers.

      14.    Uber knew and should have known that failure to maintain adequate

technological safeguards would eventually result in a massive data breach.

      15.    Uber could have and should have substantially increased the amount

of money it spent to protect against cyber-attacks but chose not to.

      16.    Consumers like Plaintiff should not have to bear the expense caused

by Uber’s negligent failure to safeguard their personal information from cyber-

attackers.

      17.    Plaintiff hopes Uber will use this massive data breach, and his

subsequent lawsuit, as a teachable moment to finally adopt adequate safeguards to

protect against this type of cyber- attack in the future.

      18.    The ramifications of Uber’s failure to keep Plaintiff’s and Class

members’ data secure are severe.

      19.    There may be a time lag between when harm occurs versus when it is

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discovered, and also between when personally identifying information is stolen and

when it is used.

      20.    According to the U.S. Government Accountability Office (“GAO”),

which conducted a study regarding data breaches:

      [L]aw enforcement officials told us that in some cases, stolen data
      may be held for up to a year or more before being used to commit
      identity theft. Further, once stolen data have been sold or posted on
      the Web, fraudulent use of that information may continue for years.
      As a result, studies that attempt to measure the harm resulting from
      data breaches cannot necessarily rule out all future harm.1

      21.    The PII of Plaintiff and Class members is private and sensitive in

nature and was left inadequately protected by Uber. Uber did not obtain Plaintiff

and Class members’ consent to disclose their PII to any other person as required by

applicable law and industry standards.

      22.    The Uber Data Breach was a direct and proximate result of Uber’s

failure to properly safeguard and protect Plaintiff’ and Class members’ PII from

unauthorized access, use, and disclosure, as required by various state and federal

regulation, industry practices, and the common law, including Uber’s failure to

establish and implement appropriate administrative, technical, and physical

safeguards to ensure the security and confidentiality of Plaintiff’ and Class

members’ PII to protect against reasonably foreseeable threats to the security or


1
  GAO, Report to Congressional Requesters, at 29 (June 2007), available at
http://www.gao.gov/new.items/d07737.pdf (last visited April 10, 2017).
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integrity of such information.

      23.    Uber had the resources to prevent a breach, but neglected to

adequately invest in data security, despite the growing number of well-publicized

data breaches.

      24.    Had Uber remedied the deficiencies in its data security systems,

followed security guidelines, and adopted security measures recommended by

experts in the field, Uber would have prevented the Data Breach and, ultimately,

the theft of its customers’ PII.

      25.    Plaintiff seeks relief on behalf of himself and as a representative of all

others who are similarly situated. Pursuant to FED. R. CIV. P. 23(a), (b)(2), (b)(3)

and (c)(4), Plaintiff seeks certification of a Nationwide class defined as follows:

      All persons residing in the United States whose personally identifiable
      information was acquired by unauthorized persons in the data breach
      announced by Uber in November 2017 (the “Nationwide Class”).
      Further, State Subclasses are defined below.

      26.    Excluded from each of the above Classes are Uber and any of its

affiliates, parents or subsidiaries; all employees of Uber; all persons who make a

timely election to be excluded from the Class; government entities; and the judges

to whom this case is assigned and their immediate family and court staff.

      27.    Plaintiff hereby reserves the right to amend or modify the class

definition with greater specificity or division after having had an opportunity to

conduct discovery.
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      28.    Each of the proposed Classes meets the criteria for certification under

FED. R. CIV. P. 23(a), (b)(2), (b)(3) and (c)(4).

      29.    Numerosity. FED. R. CIV. P. 23(a)(1). Consistent with RULE 23(a)(1),

the members of the Class are so numerous and geographically dispersed that the

joinder of all members is impractical. While the exact number of Class members is

unknown to Plaintiff at this time, the proposed Class include at least 57 million

individuals whose PII was compromised in the Uber Data Breach. Class members

may be identified through objective means. Class members may be notified of the

pendency of this action by recognized, Court-approved notice dissemination

methods, which may include U.S. mail, electronic mail, internet postings, and/or

published notice.

      30.    Commonality. FED R. CIV. P. 23(a)(2) and (b)(3). Consistent with

FED. R. CIV. P. 23(2)(2) and with 23(b)(3)’s predominance requirement, this action

involves common questions of law and fact that predominate over any questions

affecting individual Class members. The common questions include:

   a) Whether Uber had a duty to protect PII;

   b) Whether Uber knew or should have known of the susceptibility of their data

      security systems to a data breach;

   c) Whether Uber’s security measures to protect their systems were reasonable

      in light of the measures recommended by data security experts;

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   d) Whether Uber was negligent in failing to implement reasonable and

      adequate security procedures and practices;

   e) Whether Uber’s failure to implement adequate data security measures

      allowed the breach to occur.

   f) Whether Uber’s conduct, including their failure to act, resulted in or was the

      proximate cause of the breach of its systems, resulting in the loss of PII of

      Plaintiff and Class members;

   g) Whether Plaintiff and Class members were injured and suffered damages or

      other acceptable losses because of Uber’s failure to reasonably protect its

      systems and data network; and

   h) Whether Plaintiff and Class members are entitled to relief.

      31.    Typicality. FED. R. CIV. P. 23(a)(3). Consistent with FED. R. CIV. P.

23(a)(3), Plaintiff’s claims are typical of those of other class members. Plaintiff

had his PII compromised in the Data Breach. Plaintiff’s damages and injuries are

akin to other Class members and Plaintiff seeks relief consistent with the relief of

the Class.

      32.    Adequacy. FED. R. CIV. P. 23(a)(4). Consistent with FED. R. CIV. P.

23(a)(4), Plaintiff is an adequate representative of the Class because Plaintiff is a

member of the Class and is committed to pursuing this matter against Uber to

obtain relief for the Class. Plaintiff has no conflicts of interest with the Class.

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Plaintiff’s Counsel are competent and experienced in litigating class actions,

including privacy litigation. Plaintiff intends to vigorously prosecute this case and

will fairly and adequately protect the Class’ interests.

      33.    Superiority. FED. R. CIV. P. 23(b)(3). Consistent with FED. R. CIV. P.

23(b)(3), a class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to

be encountered in the management of this class action. The quintessential purpose

of the class action mechanism is to permit litigation against wrongdoers even when

damages to individual Plaintiff may not be sufficient to justify individual litigation.

Here the damages suffered by Plaintiff and the Class are relatively small compared

to the burden and expense required to individually litigate their claims against

Uber, and thus, individual litigation to redress Uber’s wrongful conduct would be

impracticable. Individual litigation by each Class member would also strain the

court system. Individual litigation creates the potential for inconsistent or

contradictory judgments and increases the delay and expense to all parties and the

court system. By contrast, the class action device presents far fewer management

difficulties and provides the benefits of a single adjudication, economies of scale,

and comprehensive supervision by a single court.

      34.    Injunctive and Declaratory Relief. Class certification is also

appropriate under FED. R. CIV. P. 23(b)(2) and (c). Defendant, through its uniform

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conduct, has acted or refused to act on grounds generally applicable to the Class as

a whole, making injunctive and declaratory relief appropriate to the Class as a

whole.

      35.    Likewise, particular issues under RULE 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the

resolution of which would advance the disposition of this matter and the parties’

interests therein. Such particular issues include, but are not limited to:

   a) Whether Uber failed to timely notify the public of the Breach;

   b) Whether Uber owed a legal duty to Plaintiff and the Class to exercise due

      care in collecting, storing, and safeguarding their PII;

   c) Whether Uber’s security measures were reasonable in light of data security

      recommendation, and other measures recommended by data security experts;

   d) Whether Uber failed to adequately comply with industry standards

      amounting to negligence;

   e) Whether Defendant failed to take commercially reasonable steps to

      safeguard the PII of Plaintiff and the Class members; and

   f) Whether adherence to data security recommendations and measures

      recommended by data security experts would have reasonably prevented the

      Data Breach.

      36.    Finally, all members of the proposed Classes are readily ascertainable.

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Uber has access to information regarding the Data Breach, the time period of the

Data Breach, and which individuals were potentially affected. Using this

information, the members of the Class can be identified and their contact

information ascertained for the purposes of providing notice to the Class.

                                  CAUSES OF ACTION

                                   Count I
                                  Negligence
 (On behalf of Plaintiff and the Nationwide Class, or, Alternatively, Plaintiff
                     and the Separate Statewide Classes)

      37.       Plaintiff restates and reallege Paragraphs 1 through 36 as if fully set

forth herein.

      38.       Upon accepting and storing the PII of Plaintiff and Class Members in

its computer systems and on its networks, Uber undertook and owed a duty to

Plaintiff and Class members to exercise reasonable care to secure and safeguard

that information and to use commercially reasonable methods to do so. Uber knew

that the PII was private and confidential and should be protected as private and

confidential.

      39.       Uber owed a duty of care not to subject Plaintiff and Class members,

along with their PII, to an unreasonable risk of harm because they were foreseeable

and probable victims of any inadequate security practices.

      40.       Uber owed numerous duties to Plaintiff and to members of the

Nationwide Class, including the following:
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   a) To exercise reasonable care in obtaining, retaining, securing, safeguarding,

      deleting and protecting PII in its possession;

   b) To protect PII using reasonable and adequate security procedures and

      systems that are compliant with industry-standard practices; and

   c) To implement processes to quickly detect a data breach and to timely act on

      warnings about data breaches.

      41.    Uber also breached its duty to Plaintiff and the Class members to

adequately protect and safeguard PII by knowingly disregarding standard

information security principles, despite obvious risks, and by allowing

unmonitored and unrestricted access to unsecured PII. Furthering their dilatory

practices, Uber failed to provide adequate supervision and oversight of the PII with

which they were and are entrusted, in spite of the known risk and foreseeable

likelihood of breach and misuse, which permitted and unknown third party to

gather PII of Plaintiff and Class members, misuse the PII and intentionally disclose

it to others without consent.

      42.    Uber knew, or should have known, of the risks inherent in collecting

and storing PII, the vulnerabilities of its data security systems, and the importance

of adequate security. Uber knew about numerous, well-publicized data breaches,

including the breach at Experian.

      43.    Uber knew, or should have known, that their data systems and

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networks did not adequately safeguard Plaintiff’ and Class members’ PII.

      44.       Uber breached its duties to Plaintiff and Class members by failing to

provide fair, reasonable, or adequate computer systems and data security practices

to safeguard PII of Plaintiff and Class members.

      45.       As a direct and proximate result of Uber’s conduct, Plaintiff and the

Class suffered damages, and the potential scope can only be assessed after a

thorough investigation of the facts and events surrounding the theft mentioned

above.

                                   Count II
                               Negligence Per Se
 (On Behalf of Plaintiff and the Nationwide Class, or, Alternatively, Plaintiff
                     and the Separate Statewide Classes)

      46.       Plaintiff restates and reallege Paragraphs 1 through 36 as if fully set

forth herein.

      47.       Section 5 of the FTC Act prohibits “unfair… practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or

practice by businesses, such as Uber, of failing to use reasonable measures to

protect PII. The FTC publications and orders described above also form part of the

basis of Uber’s duty in this regard.

      48.       Uber violated Section 5 of the FTC Act by failing to use reasonable

measures to protect PII and not complying with applicable industry standards, as

described in detail herein. Uber’s conduct was particularly unreasonable given the
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foreseeable consequences of a data breach at a corporation such as Uber, including,

specifically, the immense damages that would result to Plaintiff and Class

members.

      49.       Uber’s violation of Section 5 of the FTC Act constitutes negligence

per se.

      50.       Plaintiff and Class members are within the class of persons that the

FTC Act was intended to protect.

      51.       As a direct and proximate result of Uber’s negligence per se, Plaintiff

and the Class have suffered, and continue to suffer, injuries and damages arising

from the far-reaching, adverse, and detrimental consequences of identity theft and

loss of privacy.

                                  Count III
                           Declaratory Judgement
 (On Behalf of Plaintiff and the Nationwide Class, or, Alternatively, Plaintiff
                     and the Separate Statewide Classes)

      52.       Plaintiff restate and reallege Paragraphs 1 through 36 as if fully set

forth herein.

      53.       As previously alleged, Plaintiff and Class members entered into an

implied contract that required Uber to provide adequate security for the PII it

collected from their transactions. As previously alleged, Uber owes duties of care

to Plaintiff and Class members that require it to adequately secure PII.

      54.       Uber still possesses PII pertaining to Plaintiff and Class members.
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      55.       Uber has made no announcement or notification that it has remedied

the vulnerabilities in its computer data systems, and most importantly, its systems.

      56.       Accordingly, Uber has not satisfied its contractual obligations and

legal duties to Plaintiff and Class members. In fact, now that Uber’s lax approach

towards data security has become public, the PII in its possession is more

vulnerable than previously.

      57.       Actual harm has arisen in the wake of the Uber Data Breach regarding

Uber’s contractual obligations and duties of care to provide data security measures

to Plaintiff and Class members.

      58.       Plaintiff, therefore, seek a declaration that (a) Uber’s existing data

security measures do not comply with its contractual obligations and duties of care

and (b) in order to comply with its contractual obligations and duties of care, Uber

must implement and maintain reasonable security measures.

                                    Count IV
                Violation of Alabama Deceptive Trade Practices Act
                          (ALA CODE 1975 § 8-19-1 et seq.)

      59.       Plaintiff restate and reallege Paragraphs 1 through 36 as if fully set

forth herein.

      60.       Plaintiff William Grice brings this claim on behalf of himself and the

Alabama Subclass.

      61.       Defendant’s misrepresentations, active concealment, and failures to

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disclose violated the Alabama Deceptive Trade Practices Act (“DTPA”) in that

Defendant misrepresented that its services and products were of a particular

standard, quality, and/or grade when they were of another (Ala. Code § 8-19-5(7)).

      62.    As previously alleged, Plaintiff and Class members entered into an

implied contract that required Uber to provide adequate security for the PII it

collected from their transactions. As previously alleged, Uber owes duties of care

to Plaintiff and Class members that require it to adequately secure PII.

      63.    The foregoing acts and omissions of the Defendant were undertaken

willfully, intentionally, and knowingly as part of its routine business.

      64.    Defendant’s misrepresentations and omissions were material to

Plaintiff and members of the Alabama Subclass, such that a reasonable person

would consider them important in deciding whether to purchase Defendant’s

services, and had Plaintiff and members of the Alabama Subclass known the truth,

they would have acted differently.

      65.    The conduct described herein has tremendous potential to be repeated

where other consumers similarly-situated will be treated with the same

unscrupulous, unethical, unfair and deceptive acts and practices.

      66.    Furthermore, as alleged above, Uber’s failure to secure consumers’

PII violates the FTCA and therefore violates the DTPA.

      67.    Uber knew or should have known that its computer system and data

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security practices were inadequate to safeguard the PII of Plaintiff and Class

members, deter hackers, and detect a breach within a reasonable time, and that the

risk of a data breach was highly likely.

      68.    As a direct and proximate result of Uber’s violation of the DTPA,

Plaintiff and Class members suffered damages which may take months if not years

to discover and detect, given the far-reaching, adverse and detrimental

consequences of identity theft and loss of privacy. The nature of other forms of

economic damage and injury may take years to detect, and the potential scope can

only be assessed after a thorough investigation of the facts and events surrounding

the theft mentioned above.

      69.    Also as a direct result of Uber’s knowing violation of the DTPA,

Plaintiff and Class members are entitled to damages as well as injunctive relief,

including, but not limited to:

   a) Ordering that Uber engage third-party security auditors/penetration testers as

      well as internal security personnel to conduct testing, including simulated

      attacks, penetration tests, and audits on Uber’s systems on a periodic basis,

      and ordering Uber to promptly correct any problems or issues detected by

      such third-party security auditors;

   b) Ordering that Uber engage third-party security auditors and internal

      personnel to run automated security monitoring;

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   c) Ordering that Uber audit, test, and train its security personnel regarding any

      new or modified procedures;

   d) Ordering that Uber segment PII by, among other things, creating firewalls

      and access controls so that if one area of Uber is compromised, hackers

      cannot gain access to other portions of Uber systems;

   e) Ordering that Uber purge, delete, and destroy in a reasonable secure manner

      PII not necessary for its provisions of services;

   f) Ordering that Uber conduct regular database scanning and securing checks;

   g) Ordering that Uber routinely and continually conduct internal training and

      education to inform internal security personnel how to identify and contain a

      breach when it occurs and what to do in response to a breach; and

   h) Ordering Uber to meaningfully educate its customers about the threats they

      face as a result of the loss of their personal information to third parties, as

      well as the steps Uber customers must take to protect themselves.

      70.    Plaintiff brings this action on behalf of himself and Class Members

for the relief requested above and for the public benefit in order to promote the

public interests in the provision of truthful, fair information to allow consumers to

make informed purchasing decisions and to protect Plaintiff and Class members

and the public from Uber’s unfair methods of competition and unfair, deceptive,

fraudulent, unconscionable and unlawful practices. Uber’s wrongful conduct as

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alleged in this Complaint has had widespread impact on the public at large.

      71.     Plaintiff and Class members are entitled to a judgment against Uber

for actual and consequential damages, exemplary damages and attorneys’ fees

pursuant to the DTPA, costs, and such other further relief as the Court deems just

and proper.

      WHEREFORE, Plaintiff, individually and on behalf of all Class members

proposed in this Complaint, respectfully request that the Court enter judgment in

their favor and against Uber as follows:

   a) For an Order certifying the Classes, as defined herein, and appointing

      Plaintiff and their Counsel to represent the Nationwide Class, or in the

      alternative the separate Statewide Classes;

   b) For equitable relief enjoining Uber from engaging in the wrongful conduct

      complained of herein pertaining to the misuse and/or disclosure of Plaintiff’

      and Class members’ PII, and from refusing to issue prompt, complete and

      accurate disclosures to the Plaintiff and Class members;

   c) For equitable relief compelling Uber to use appropriate cyber security

      methods and policies with respect to consumer data collection, storage and

      protection and to disclose with specificity to Class members the type of PII

      compromised;

   d) For an award of damages, as allowed by law in an amount to be determined;

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   e) For an award of attorneys’ fees costs and litigation expenses, as allowable by

      law;

   f) For prejudgment interest on all amounts awarded; and

   g) Such other and further relief as this court may deem just and proper.



                             JURY TRIAL DEMAND

      Plaintiff demand a jury trial on all issues so triable.

      Submitted this the 22nd day of November, 2017.

                                        s/ Eric J. Artrip
                                        Eric J. Artrip (ASB-9673-I68E)
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